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Attorneys for Defendants/Counterclaimants Kamyab Ghatan and Oeagrus, Inc.


                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, NORTHERN DIVISION


 THE NECK HAMMOCK, INC., a Delaware                        ANSWER TO FIRST AMENDED
 Corporation,                                             COMPLAINT FOR TRADEMARK
                                                             INFRINGEMENT, UNFAIR
                Plaintiff,                                  COMPETITION, COPYRIGHT
        vs.                                                  INFRINGEMENT, DESIGN
                                                           PATENT INFRINGEMENT AND
 OEAGRUS, INC., a Canadian Corporation and                      UTILITY PATENT
 KAMYAB GHATAN, a resident of Canada, and DOES                   INFRINGEMENT
 1-10,
                                                              Case No. 2:19-cv-00501-DAK
                Defendants.



       Defendants Kamyab Ghatan (“Ghatan”) and Oeagrus, Inc. (“Oeagrus”) hereby answer the

First Amended Complaint as follows:

                                      FIRST DEFENSE

       Each cause of action in the First Amended Complaint fails to state a claim upon which

relief can be granted.

                                    SECOND DEFENSE

       Defendants Ghatan and Oeagrus answer the allegations of the First Amended Complaint

as follows:
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       1.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 1 of the First Amended Complaint and therefore deny the allegations thereof.

       2.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 2 of the First Amended Complaint and therefore deny the allegations thereof.

       3.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 3 of the First Amended Complaint and therefore deny the allegations thereof.

       4.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 4 of the First Amended Complaint and therefore deny the allegations thereof.

       5.      Defendants Ghatan and Oeagrus admit that the neck hammock sold by Plaintiff

includes a hammock which engages the back of a user’s head to apply traction to the user’s head

and neck and that Plaintiff’s product, as set forth in the claims, uses a plurality of shock

absorbing cords as set forth in paragraph 5 of the First Amended Complaint, and otherwise

denies the allegations thereof.

       6.      Defendants Ghatan and Oeagrus admit that the application of force on the

hammock by the plurality of elastic chords in the neck hammock sold by Plaintiff applies

traction to the vertebrae of the spine, and especially those of the neck, as set forth in paragraph 6

of the First Amended Complaint, and otherwise deny the allegations thereof.

       7.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 7 of the First Amended Complaint and therefore deny the allegations thereof.

       8.      Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 8 of the First Amended Complaint and therefore deny the allegations thereof.




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       9.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 9 of the First Amended Complaint and therefore deny the allegations thereof.

       10.    Defendants deny the allegations of paragraph 10 of the First Amended Complaint.

       11.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 11 of the First Amended Complaint and therefore deny the allegations thereof.

       12.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 12 of the First

Amended Complaint.

       13.    Defendants Ghatan and Oeagrus admit that Plaintiff has filed an action in an

attempt to stop Defendants from selling competing products, but otherwise deny the allegations

of paragraph 13 of the First Amended Complaint.

                                       THE PARTIES

       14.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 14 of the First Amended Complaint and therefore deny the allegations thereof.

       15.    Defendants Ghatan and Oeagrus admit Ghatan is the owner of Oeagrus and

otherwise deny the allegations of paragraph 15 of the First Amended Complaint.

       16.    Defendants Ghatan and Oeagrus admit the allegations of paragraph 16 of the First

Amended Complaint.

       17.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 17 of the First

Amended Complaint.

                                       JURISDICTION

       18.    Defendants Ghatan and Oeagrus submit that the allegations of paragraph 18 of the

First Amended Complaint are legal conclusions and require no response.


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       19.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 19 of the First

Amended Complaint.

       20.     Defendants Ghatan and Oeagrus admit that Oeagrus sells through Amazon.com

and otherwise denies the allegations of paragraph 20 of the First Amended Complaint.

       21.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 21 of the First Amended Complaint and therefore deny the allegations thereof.

       22.     Defendants Ghatan and Oeagrus admit the allegations of paragraph 22 of the First

Amended Complaint.

       23.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 23 of the First

Amended Complaint.

       24.     Defendants Ghatan and Oeagrus admit that there are other neck hammocks and

other devices for traction and otherwise deny the allegations of paragraph 24 of the First

Amended Complaint.

       25.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 25 of the First Amended Complaint and therefore deny the allegations thereof.

       26.     Defendants Ghatan and Oeagrus admit that Plaintiff has patents and trademark

registrations but deny the validity of the same and otherwise deny the allegations of paragraph 26

of the First Amended Complaint.

       27.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 27 of the First Amended Complaint and therefore deny the allegations thereof.

       28.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 28 of the First Amended Complaint and therefore deny the allegations thereof.


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       29.     Defendants Ghatan and Oeagrus admit that Oeagrus sold neck hammocks which it

purchased from third parties with no knowledge of any alleged rights of Plaintiff and otherwise

deny the allegations of paragraph 29 of the First Amended Complaint.

                                     FIRST CAUSE OF ACTION
                                       Trademark Infringement
                                           15 U.S.C. § 1114

       30.     Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 29 as if set forth herein.

       31.     Defendants Ghatan and Oeagrus admit that Plaintiff has trademark registrations

that were improperly registered because Plaintiff’s product is a hammock for the neck and the

term neck hammock is generic or merely descriptive and not a proper trademark, and otherwise

deny the allegations of paragraph 31 of the First Amended Complaint.

       32.     Defendants Ghatan and Oeagrus admit that Plaintiff obtained the registrations

shown in Exhibits A, B and C to the First Amended Complaint, note that the trademark

registrations were improperly registered because Plaintiff’s product is a hammock for the neck

and neck hammock is generic or merely descriptive for the goods, and otherwise deny the

allegations of paragraph 32 of the First Amended Complaint..

       33.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 33 of the First

Amended Complaint.

       34.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 34 of the First

Amended Complaint.

       35.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 35 of the First

Amended Complaint.


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       36.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 36 of the First

Amended Complaint.

       37.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 37 of the First

Amended Complaint.

       38.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 38 of the First

Amended Complaint.

       39.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 39 of the First

Amended Complaint.

       40.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 40 of the First

Amended Complaint.

                                 SECOND CAUSE OF ACTION
                                     Unfair Competition
                                     15 U.S.C. § 1125(a)

       41.     Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 40 as if set forth herein.

       42.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 42 of the First

Amended Complaint in that Neck Hammock cannot serve as a trademark, as it describes exactly

what the product is, a hammock to relieve neck pain, making the purported mark generic or

merely descriptive.

       43.     Defendants Ghatan and Oeagrus admit that Plaintiff obtained trademark

registrations from the United States Patent and Trademark Office and otherwise deny the

allegations of paragraph 43 of the First Amended Complaint.




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       44.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 44 of the First

Amended Complaint.

       45.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 45 of the First

Amended Complaint.

       46.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 46 of the First

Amended Complaint.

       47.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 47 of the First

Amended Complaint.

       48.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 48 of the First

Amended Complaint.

       49.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 49 of the First

Amended Complaint.

       50.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 50 of the First

Amended Complaint.

                               THIRD CLAIM FOR RELIEF
                             Infringement of the ‘260 Copyright
                                    17 U.S.C. § 106 et seq.

       51.    Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 50.

       52.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 52 of the First Amended Complaint and therefore deny the allegations thereof.

       53.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 53 of the First Amended Complaint and therefore deny the allegations thereof.


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       54.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 54 of the First

Amended Complaint.

       55.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 55 of the First

Amended Complaint.

       56.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 56 of the First

Amended Complaint.

       57.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 57 of the First

Amended Complaint.

       58.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 58 of the First

Amended Complaint.

       59.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 59 of the First

Amended Complaint.

                              FOURTH CAUSE OF ACTION
                              Infringement of the ‘284 Patent
                                      35 U.S.C. § 271

       60.    Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 59.

       61.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 61 of the First Amended Complaint and therefore deny the allegations thereof.

       62.    Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 62 of the First Amended Complaint and therefore deny the allegations thereof.




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          63.   Defendants Ghatan and Oeagrus deny the allegations of paragraph 63 of the First

Amended Complaint and affirmatively allege that the assertion of infringement is made in bad

faith.

          64.   The allegations of paragraph 64 of the First Amended Complaint call for a legal

conclusion and are therefore denied by Defendants Ghatan and Oeagrus.

          65.   The allegations of paragraph 65 of the First Amended Complaint call for a legal

conclusion and are therefore denied by Defendants Ghatan and Oeagrus.

          66.   The allegations of paragraph 66 of the First Amended Complaint call for a legal

conclusion and are therefore denied by Defendants Ghatan and Oeagrus.

          67.   The allegations of paragraph 67 of the First Amended Complaint call for a legal

conclusion and are therefore denied by Defendants Ghatan and Oeagrus.

          68.   The allegations of paragraph 68 of the First Amended Complaint call for a legal

conclusion and are therefore denied by Defendants Ghatan and Oeagrus.

          69.   Defendants Ghatan and Oeagrus deny the allegations of paragraph 69 of the First

Amended Complaint, and affirmatively allege that the assertion is made in bad faith as Plaintiff

is aware that Oeagrus’ product uses a single elastic band.

          70.   Defendants Ghatan and Oeagrus deny the allegations of paragraph 70 of the First

Amended Complaint, and affirmatively allege that the assertion is made in bad faith as Plaintiff

is aware that Oeagrus’ product uses a single elastic band.

          71.   Defendants Ghatan and Oeagrus deny the allegations of paragraph 71 of the First

Amended Complaint, and affirmatively allege that the assertion is made in bad faith as Plaintiff

is aware that Oeagrus’ product uses a single elastic band.


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       72.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 72 of the First

Amended Complaint.

       73.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 73 of the First

Amended Complaint.

       74.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 74 of the First

Amended Complaint.

       75.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 75 of the First

Amended Complaint.

       76.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 76 of the First

Amended Complaint.

                                  FIFTH CAUSE OF ACTION
                                Infringement of the ‘D305 Patent
                                        35 U.S.C. § 271

       77.     Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 76 as if set forth herein.

       78.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 78 of the First Amended Complaint and therefore deny the allegations thereof.

       79.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 79 of the First Amended Complaint and therefore deny the allegations thereof.

       80.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 80 of the First

Amended Complaint, and note that the photographs shown therein do not accurately represent

Oeagrus’ product as sold.




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       81.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 81 of the First

Amended Complaint.

       82.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 82 of the First

Amended Complaint.

       83.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 83 of the First

Amended Complaint.

       84.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 84 of the First

Amended Complaint.

       85.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 85 of the First

Amended Complaint.

                                  SIXTH CAUSE OF ACTION
                                Infringement of the ‘D305 Patent
                                        35 U.S.C. § 271

       86.     Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 85 as if set forth herein.

       87.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 87 of the First Amended Complaint and therefore deny the allegations thereof.

       88.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 88 of the First Amended Complaint and therefore deny the allegations thereof.

       89.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 89 of the First

Amended Complaint and affirmatively note that the photographs of Oeagrus’ product do not

show Oeagrus’ product as sold.




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       90.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 90 of the First

Amended Complaint.

       91.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 91 of the First

Amended Complaint.

       92.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 92 of the First

Amended Complaint.

       93.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 93 of the First

Amended Complaint.

       94.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 94 of the First

Amended Complaint.

                                SEVENTH CAUSE OF ACTION
                                Infringement of the ‘D494 Patent
                                        35 U.S.C. § 271

       95.     Defendants Ghatan and Oeagrus incorporate their responses to paragraphs 1

through 94 as if set forth herein.

       96.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 96 of the First Amended Complaint and therefore deny the allegations thereof.

       97.     Defendants Ghatan and Oeagrus lack information or belief as to the allegations of

paragraph 97 of the First Amended Complaint and therefore deny the allegations thereof.

       98.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 98 of the First

Amended Complaint and affirmatively note that the photographs of Oeagrus’ product do not

show Oeagrus’ product as sold.




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        99.     Defendants Ghatan and Oeagrus deny the allegations of paragraph 99 of the First

Amended Complaint.

        100.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 100 of the First

Amended Complaint.

        101.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 101 of the First

Amended Complaint.

        102.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 102 of the First

Amended Complaint.

        103.    Defendants Ghatan and Oeagrus deny the allegations of paragraph 103 of the First

Amended Complaint.

        WHEREFORE, Defendants prays this Honorable Court for:

        A.      Judgment that Defendants have not infringed any trademark of Plaintiff;

        B.      Judgment that Defendants have not engaged in unfair competition against

        Plaintiff;

        C.      Judgment that Defendants have not infringed any patent rights of Plaintiff;

        D.      Judgment that Defendants have not infringed any copyrights of Plaintiff.

                                  AFFIRMATIVE DEFENSES

                                       THIRD DEFENSE

        Plaintiff’s claims are barred because Defendants have not infringed any valid trademarks

rights of Plaintiff.




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                                       FOURTH DEFENSE


        Plaintiff’s claims are barred because Defendants have not engaged in any unfair

competition or infringed any valid trademarks rights of Plaintiff.


                                        FIFTH DEFENSE


        Plaintiff’s claims are barred because Defendants have not infringed any valid copyrights

of Plaintiff.

                                        SIXTH DEFENSE

        Plaintiff’s claims are barred because Defendants have not infringed any patent rights of

Plaintiff.

                                      SEVENTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because Defendants have no trademark

rights in the words neck hammock.


                                       EIGHTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because Defendants did not copy

Plaintiff’s materials.

                                        NINTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because the ‘284 Patent is invalid for

failure to comply with one or more of U.S.C. §§ 101, 102, 103 and 112.

                                        TENTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because the ‘D035 Patent is invalid for

failure to comply with one of more of U.S.C. §§ 101, 102, 103 and 112.

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                                    ELEVENTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because the ‘D492 Patent is invalid for

failure to comply with one or more of U.S.C. §§ 101, 102, 103 and 112.

                                     TWELFTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because the ‘D494 Patent is invalid for

failure to comply with one or more of U.S.C. §§ 101, 102, 103 and 112.

                                   THIRTEENTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because, on information and belief,

Plaintiff failed to disclose material prior art to the U.S. Patent and Trademark Office.

                                   FOURTEENTH DEFENSE

       The Plaintiff’s claims are barred, in whole or in part, under the doctrine of laches at least

for the reason that Plaintiff waited an unreasonable amount of time to assert its claims and

thereby prejudiced the ability of the Defendants to collect evidence demonstrating their defenses.

                                    FIFTEENTH DEFENSE

       The Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s unclean hands in

dealing with Defendants, including shutting down Defendants’ sales channels by asserting

trademark rights which it knew or should have known were without merit.

                                    SIXTEENTH DEFENSE

       The Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver and/or

estoppel.




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                                    SEVENTEENTH DEFENSE

        The Plaintiff’s claims are barred, in whole or in part, in that some or all of any damage

suffered by Plaintiff is due to the acts of third parties.

                                     EIGHTEENTH DEFENSE

                The Plaintiff’s claims for enhanced damages are barred, in whole or in part, as

Defendants were acting in good faith and with the understanding that they were not infringing

any rights of Plaintiff.

                                      NINTEENTH DEFENSE

                The Plaintiff’s claims for damages are limited because, based on information and

belief, Plaintiff failed to mark its product in accordance with the Patent Act.

                                     TWENTIETH DEFENSE

                The Plaintiff’s claims for damages are limited to the extent that Defendants’ sales

occurred before the issuance of any patent which may have been infringed.

                                 RESERVATION OF DEFENSES

        Defendants further reserve the right to raise additional defenses or claims as they are

discovered during discovery.

                                         COUNTERCLAIM

                                                Parties

        1.      Counterclaimant Ghatan is an individual residing in Ontario, Canada.

        2.      Counterclaimant Oeagrus is a Canadian corporation with its place of business in

Ontario, Canada.




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            3.   Counterclaim Defendant The Neck Hammock (TNH”) is a Delaware corporation

having its principle place of business in Utah.

                                       Jurisdiction and Venue

            4.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1338(a), 2201

and 2202. Personal jurisdiction is present, as Counterclaim Defendant has a place of business in

this district and has filed suit against the Counterclaimants in this district.

            5.   Venue is proper under 28 U.S.C. § 1400(a), because Plaintiff is found in this

district.

                                         General Allegations

        A.       Trademarks

        6.       TNH purports to be the owner of trademark rights for the mark NECK

HAMMOCK and asserts three U.S. Trademark Registrations for THE NECK HAMMOCK,

NECK HAMMOCK and NECK HAMMOCK (& Design) U.S. Trademark Reg. No. 5,439,768,

5,557,079 and 5,626,795.

        7.       TNH’s product is a device for relieving stress which includes a strap, a pair of

bungie straps and a neck hammock. The hammock is attached to bungie straps which are

connected to a strap which engages a door handle. A visual from TNH’s instructions for use

identify the relevant parts:




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.

         8.   The user then places his or her head and upper neck in the hammock as shown

below:




         8.   TNH has asserted that Counterclaimants and others have infringed their

trademarks by marketing products as “Neck Hammocks” or “Head Hammocks,” (First



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Amended Complaint, ¶ 29) despite these terms being merely descriptive of the product, as

TNH’s own instructions demonstrate.

       9.       During the prosecution of U.S. Trademark Application 87/500,910, which became

U.S. Trademark Reg. No. 5,439,768, TNH conceded that the word NECK in THE NECK

HAMMOCK was merely descriptive by stipulating to the entry of a disclaimer.

       10.      During prosecution of the ‘910 application, it does not appear that the Examining

Attorney did a common law search for use of the term HAMMOCK, including TNH’s own

instructions.

       11.      During the prosecution of U.S. Trademark Application No. 87/693,381, which

became U.S. Trademark Reg. No. 5,557,079, TNH conceded that the word NECK in NECK

HAMMOCK and design was merely descriptive by stipulating to the entry of a disclaimer.

       12.      During prosecution of the ‘381 application, it does not appear that the Examining

Attorney did a common law search for use of the term HAMMOCK, including TNH’s own

instructions.

       13.      During the prosecution of U.S. Trademark Application No. 87/883,842, which

became U.S. Trademark Reg. No. 5,626,795, TNH conceded that the word neck in NECK

HAMMOCK and design was merely descriptive by stipulating to the entry of a disclaimer.

       14.      During prosecution of the ‘381 application, it does not appear that the Examining

Attorney did a common law search for use of the term HAMMOCK, including TNH’s own

instructions.

       15.      As evidenced by TNH’s own instructions, a hammock is a piece of fabric or

woven rope which is suspended at the ends and used as a bed for some object.


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       16.    The use of the term hammock for suspended material used to hold a part of

another object is commonplace.

       17.    Since at least the early 2000s, devices for suspending parts of a human body have

been referred to as hammocks.

       18.    For example, at least as early as 2005, Arjo Sling was selling “leg hammocks.”




A copy of Arjo’s 2005 catalog is attached hereto as Exhibit A.

       19.    In 2005, the U.S. Patent and Trademark Office issued U.S. Patent No. 6,839,927

(‘927 Patent) for a “Neck and Head Hammock.” A copy of the ‘927 patent is attached hereto as

Exhibit B.

       20.    In 2009, Gypsy Enterprises, LLC sought to obtain a trademark registration for

HEAD HAMMOCK for “A head hammock for use in flight on an airplane to allow a person to

sleep comfortably in an upright position.” The mark was refused as being generic. A copy of

the File history for U.S. Trademark Application 77/861,775 is attached as Exhibit C.




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       21.     By 2011, a “HEAD HAMMOCK TRAVELER” was being sold to travelers to

support their heads while on airplanes. A screenshot of a June 1, 2011 review posted on Dave’s

Travel Corner is attached hereto as Exhibit D.

       22.     The company which created the HEAD HAMMOCK TRAVELER attempted to

obtain a trademark registration for the name of its product, but the U.S. Patent and Trademark

Office refused registration because the name was merely descriptive. A copy of the office action

and the final office action are attached hereto as Exhibit E.

       23.     On March 5, 2015, the United States Patent and Trademark Office published U.S.

Patent Pub. 2015/0061340 for a “Head Hammock.” A copy of which is attached hereto as

Exhibit F.

       24.     In January of 2017, Nicolas Zakashefski filed a trademark application for the

mark HEAD HAMMOCK for a head support. The application was refused registration on the

principle register because the mark was merely descriptive. A copy of the office action refusing

registration is attached hereto as Exhibit G.

       25.     By 2012, Youtube videos showed how to make a laptop hammock.




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The video posted March 11, 2012 can be found at

https://www.youtube.com/watch?v=ye_Myek22n8.

       26.    The common use of hammock to refer to a suspended piece of material, and in

particular parts of the human body, is not limited to leg hammocks and head hammocks. On

September 21, 2011, Travel and Leisure magazine an article entitled “Best Economy-Class

Innovations,” which included a discussion of the economy class seats on Qantas’ A380 aircraft

which replaced a footrest with a foot hammock. Exhibit H.

       27.    By 2014, “foot hammocks” had become common and were sold by companies

such as FUUT,




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       28.    By January 2015, a Kickstarter campaign had been launched for “The Foot

Hammock.”




       29.    The U.S. Patent and Trademark Office granted a trademark registration for the

THE FOOT HAMMOCK design logo, but required a disclaimer of the term “foot hammock”

because the phrase was merely descriptive or generic. A copy of the trademark registration for

THE FOOT HAMMOCK is attached hereto as Exhibit I.

       30.    Long before the use of THE NECK HAMMOCK by TNH, multiple companies

were selling foot hammocks to relieve stress in the feet and legs. Many foot hammocks look

remarkably similar to the neck hammocks sold by TNH.




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       31.     Moreover, traction devices for relieving neck strain were referred to as hammocks

well before any use by TNH. During the prosecution of the ‘284 Patent, the Examiner found

many of the claims unpatentable over U.S. Patent Pub. 2014/0249461 (“the Bissell

Application”), which was filed in March 2013. A copy of the published Bissel Application is

attached hereto as Exhibit J.

       32.     The Bissel application taught that a “frame 3 supports a hammock 4 to suspend

the head of a patient's body 2 during use of the apparatus.” (Paragraph 0031).




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        33.     As admitted by TNH’s own product user instructions, TNH’s product is a

hammock for relieving stress in, among other places, the neck.




https://neckhammock.com/ (emphasis added)

        34.     The term “neck hammock” for a hammock to relieve stress in the neck is merely

descriptive, if not generic.

        35.     The three asserted trademark registrations granted by the U.S. Patent and

Trademark Office are invalid because the marks are not registerable without a showing of

acquired distinctiveness.

        36.     TNH was aware of the use of the term hammock to describe devices which held

body parts to relieve stress, but neither informed the U.S. Patent and Trademark Office of the use

nor disclaimed the term hammock from the mark.


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        37.       Despite knowing of the use of hammock to describe similar devices, TNH used its

purported trademark rights to shut down thousands of product listings from Amazon.com and

other websites.


        B. Patents


        38.       Steven Sudell filed a provisional patent application for a Portable Traction Device

With Sling on or about August 12, 2016.

        39.       The patent application taught a sling assembly (i.e. a hammock) 100 attached to a

first flexible tether (i.e., a first elastic chord 175/205) and a second flexible tether (i.e., a second

elastic chord 180/210).




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       39.     On information and belief, Sudell publicly disclosed his invention more than 1

year prior to the filing date of the provisional patent application.

       40.     On or about January 25, 2018, the provisional patent application was assigned to

TNH.

       41.     On or about June 6, 2018, TNH filed a non-provisional patent application (U.S.

Pat. App. 16/008,247 (the ‘247 Application”).

       42.     On September 20, 2018, the Examiner at the U.S. Patent and Trademark Office

issued an office action rejecting claims 1-5, 8 and 11-18. Claims 11-13, 15 and 16 were rejected

as being anticipated by U.S. Patent Pat. Pub. 2014/0249461 (the Bissel Application). The

Examiner asserted that the hammock discussed in the Bissel Application was the same as the

sling claimed in TNH’s application.

       43.     The office action also rejected claims 1, 2, 5, 8 and 14 as being obvious over

Bissel et al. in view of Heinz et al. (U.S. Patent Pub. 2005/0249461).



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           44.     In order to overcome the rejection of claims 1 and 11, TNH added the following

language:

           “wherein the anchor comprises:

                   an anchor tab;

                   an anchor connector operable to selectively attach to second ends of the flexible

           elastic tethers; and

                   an anchor strap disposed between and connecting the anchor tab to the anchor

           connector.”

           45.     TNH is aware that Oeagrus’ neck hammock uses a single elastic chord and

therefore cannot meet the language of claim 1 of the ‘284 patent. Moreover, the amendment to

the claims to overcome the prior art rejection prevents TNH from asserting infringement under

the doctrine of equivalents because the language emphasizes that the two or more “flexible

elastic tethers” must be used and that the connection must be made at the “second ends” of the

tethers.

           46.     Because TNH is aware that Oeagrus’ neck hammock using only a single flexible

chord, the infringement allegation is made in bad faith and in an attempt to improperly exclude

Oeagrus from selling its product.

           47.     TNH has asserted infringement of U.S. Design Patent No. D824,035 and

compared the patent and Oeagrus’ product as follows:




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       48.    TNH asserted infringement of U.S. Design Patent No. D824,492 and compared

the patent and Oeagrus’ product as follows:




       49.    TNH asserted infringement of U.S. Design Patent No. D845,494 and compared

the patent and Oeagrus’ product as follows:




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       50.    The photograph’s of Oeagrus’ product as sold is not accurately shown in the First

Amended Complaint. Rather, TNH has modified the location of the side pads in an attempt to

make the design look more similar to what is shown in TNH’s patents.




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                                  FIRST CAUSE OF ACTION
                     Petition for Cancellation of Trademark Registrations
                                       15 U.S.C. § 1064

         51.   Counterclaimants incorporate the allegations of paragraphs 1-50 as if fully set

forth herein and further allege:

         52.   TNH sells a hammock which is designed to support a user’s head and neck.

         53.   By using medical sounding terminology, TNH was able to obtain a registration of

the marks THE NECK HAMMOCK, NECK HAMMOCK and NECK HAMMOCK (& Design)

from the U.S. Patent and Trademark Office.

         54.   The words “neck hammock” for TNH’s product is generic, as the product is a

neck hammock.

         55.   The words “neck hammock” for TNH’s product is merely descriptive, as it merely

describes the purpose of the product – a hammock for the neck.

         56.   TNH’s own instructions for use refer to the fabric piece as a hammock and

indicate that the design is to relieve neck pain.

         57.   By TNH’s own allegations, numerous parties were using neck hammock to

describe substantially identical products within months of TNH’s first use of the descriptive

term.

         58.   Counterclaimants are being injured by the registration of NECK HAMMOCK as

evidenced by the present litigation and TNH’s attempts to remove those using the mark –

including Counterclaimants – from websites such as Amazon.com.




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       59.     Wherefore, Counterclaimants petition this Court to order the United States Patent

and Trademark Office to cancel U.S. Trademark Registration Nos. 5,626,795, 5,439,768 and

5,557,079 as being merely descriptive or generic.

                               SECOND CAUSE OF ACTION
                        Tortious Interference with Economic Relations

       60.     Counterclaimants incorporate the allegations of paragraphs 1-59 as if fully set

forth herein and further allege:

       61.     TNH sells a hammock which is designed to support a user’s head and neck.

       62.     TNH is aware that similar structures are referred to as hammocks, as evidenced by

the Examiner’s use of the word hammock more than 15 times when explaining why the prior art

taught the elements of TNH’s claims in the application which became the ‘284 patent.

       63.     TNH has asserted that Oeagrus and others are infringing its trademark rights by

using the generic/highly descriptive terms “neck hammock” and “head hammock,” even though

HEAD HAMMOCK is registered on the Supplemental Register to a third party who filed its

application five months before TNH filed its first trademark application and seven months before

TNH’s alleged date of first use.

       64.     By using medical sounding terminology in its description, TNH was able to

obtain a registration of the marks THE NECK HAMMOCK, NECK HAMMOCK and NECK

HAMMOCK (& Design) from the U.S. Patent and Trademark Office.

       65.     The words “neck hammock” for TNH’s product is generic as the product is a neck

hammock.

       66.     The words “neck hammock” for TNH’s product is merely descriptive as it merely

describes the purpose of the product – a hammock for the neck.

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        67.     Despite knowing that NECK HAMMOCK was not a protectable trademark, TNH

used its trademark registrations to interfere with Oeagrus’ attempts to sell Oeagrus’ products –

thereby causing lost sales, and by damaging Oeagrus’ reputation with Amazon.com.

        68.     Counterclaimants continue to be damaged by TNH’s bad faith assertion of

trademark rights int NECK HAMMOCK and is entitled to injunctive relief to prevent further

harm.

        69.     Therefore, Counterclaimants assert a claim for tortious interference with

economic relations.

                                 THIRD CAUSE OF ACTION
                                Declaration of Non-Infringement

        70.     Counterclaimants incorporate the allegations of paragraphs 1-69 as if fully set

forth herein.

        69.     Each of the independent claims of the ‘284 patent requires the use of flexible

elastic tethers, the second ends of which selectively attach to an anchor strap.

        70.     The neck hammock sold by Oeagrus using a single elastic cord, one end of which

attaches to one side of the hammock and the other end of which attaches to the other side of the

hammock.

        71.     There is no good faith basis for an allegation that Counterclaimants have infringed

the ‘284 patent.

        72.     The depictions made in the First Amended Complaint do not accurately depict

Oeagrus’ product as sold.

        73.     Therefore, Counterclaimants make a claim for declaratory judgment that

Counterclaimants have not infringed TNH’s utility patent.

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                                    PRAYER FOR RELIEF

       Counterclaimants Ghatan and Oeagrus respectfully pray that this Court enter judgment as

follows:

       1.      Judgment ordering cancellation of U.S. Trademark Registration Nos. 5,626,795,

5,439,768 and 5,557,079;

       2.      Judgment in favor of Ghatan and Oeagrus that finds that TNH engaged in tortious

interference with Counterclaimants’ economic relations, along with damages in an amount to be

determined at trial;

       3.      Judgment declaring that Counterclaims have not infringed the ‘284 patent.

       4.      For a finding that the trademark registrations and the ‘284 patent were asserted in

bad faith, along with an award of Counterclaimants’ attorneys’ fees and costs pursuant to 15

U.S.C. § 1117(a) and 35 U.S.C. § 285.

       5.      For such other relief as the Court sees just.

                                        JURY DEMAND

       Ghatan and Oeagrus demand a jury trial and all matters so triable.

       DATED: January 27, 2020.

                                                  BATEMAN IP

                                                  /s/ Randall B. Bateman
                                                  Randall B. Bateman

                                                  299 South Main Street, Suite 1300
                                                  Salt Lake City, UT 84111

                                                  Attorney for Defendants/Counterclaimants
                                                  Kamyab Ghatan and Oeagrus, Inc.



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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of January, 2020 a true and correct copy of

the foregoing ANSWER TO FIRST AMENDED COMPLAINT FOR TRADEMARK

INFRINGEMENT, UNFAIR COMPETITION, COPYRIGHT INFRINGEMENT,

DESIGN PATENT INFRINGEMENT AND UTILITY PATENT INFRINGEMENT was

filed with the court via CM-EFC, which will send notification to the following:

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                                            /s/ Randall B. Bateman
                                            Randall B. Bateman




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